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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

  GARRY EARL SHIDLER,                         )
                                              )
                       Plaintiff              )
                                              )       CAUSE NO. 3:05-CV-804 RM
         v.                                   )
                                              )
  ROBERT MOORE, et al.                        )
                                              )
                       Defendants             )

                                    OPINION AND ORDER

         Garry Earl Shidler, a pro se prisoner, filed this lawsuit alleging various violations of

  his religious liberties. The parties filed cross motions for summary judgment that are now

  ripe. The standard for reviewing a summary judgment motion is the same regardless of

  whether a party is represented by counsel. Outlaw v. Newkirk, 259 F.3d 833, 836-837 (7th

  Cir. 2001).

         [T]he plain language of [FED. R. CIV. P.] 56(c) mandates the entry of summary
         judgment, after adequate time for discovery and upon motion, against a
         party who fails to make a showing sufficient to establish the existence of an
         element essential to that party's case, and on which that party will bear the
         burden of proof at trial. In such a situation, there can be "no genuine issue as
         to any material fact," since a complete failure of proof concerning an essential
         element of the nonmoving party's case necessarily renders all other facts
         immaterial. The moving party is "entitled to a judgment as a matter of law"
         because the nonmoving party has failed to make a sufficient showing on an
         essential element of her case with respect to which she has the burden of
         proof.

  Celotex v. Catrett, 477 U.S. 317, 322-323 (1986).

         The defendants argue that RLUIPA provides only for injunctive relief, not damages.
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                This court ruled, in its Opinion and Order of August 9, 2006, that the
         plaintiff could seek nominal and punitive damages for violation of RLUIPA.
         This was incorrect, as RLUIPA does not give rise to an action for damages.
         Only injunctive relief is available under that act.

  Memorandum in Support of Summary Judgment at 10, docket # 91. In support of their

  argument, they cite to an unpublished district court opinion, Agrawal v. Briley, No. 02 C

  6807, 2006 WL 3523750, 2006 U.S. Dist. LEXIS 88697 (N.D. Ill. Dec. 6, 2006). They contend

  that though Agrawal does not support their argument, its result is incorrect because the

  statutory analysis of the Agrawal court was incomplete.

         Agrawal is not binding authority. But if it was, its ruling would not result in a

  dismissal of the non-injunctive RLUIPA claims. Though the defendants argue that RLUIPA

  could be interpreted differently, the defendants have not cited to any binding authority

  demonstrating that Judge Sharp’s ruling on August 9, 2006 was incorrect.

                 The authority of a district judge to reconsider a previous ruling in the
         same litigation, whether a ruling made by him or by a district judge
         previously presiding in the case, including (because the case has been
         transferred) a judge of a different court, is governed by the doctrine of the
         law of the case, which authorizes such reconsideration if there is a
         compelling reason, such as a change in, or clarification of, law that makes
         clear that the earlier ruling was erroneous.

  Santamarina v. Sears, 466 F.3d 570, 571-572 (7th Cir. 2006). The defendants have not

  identified a compelling reason for altering this court’s earlier ruling. They have not

  identified either a change in, or a clarification of, the law. Neither does their suggestion that

  RLUIPA could be interpreted differently demonstrate that the interpretation applied by

  Judge Sharp is clearly erroneous. Therefore, based on the law of the case doctrine, the court



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  declines to reconsider its prior ruling. Even if the court were to independently analyze the

  question of what relief is available in a RLUIPA claim, nothing in the defendants’ brief

  would persuade it to reach a different conclusion than the one it did in this case.

         In the screening order of August 9, 2006, this court granted Mr. Shidler leave to

  proceed against:

                 1. Salley Stevenson in her individual capacity for declaratory relief as
         well as monetary and punitive damages for violations of the First and
         Fourteenth Amendments for denying him prayer oil;
                 2. Salley Stevenson in her individual capacity for declaratory relief as
         well as nominal and punitive damages for violations of RLUIPA (42 U.S.C.
         § 2000cc-1) for denying him prayer oil;
                 3. Salley Stevenson in her individual capacity for monetary and
         punitive damages for violations of the First and Fourteenth Amendments for
         prohibiting him from purchasing prayer oil to which he was not allergic;
                 4. Salley Stevenson in her individual capacity for nominal and
         punitive damages for violations of RLUIPA (42 U.S.C. § 2000cc-1) for
         prohibiting him from purchasing prayer oil to which he was not allergic;
                 5. Chaplin Babb, Chaplin Leslie, and Chris Johnson in their individual
         capacities for monetary and punitive damages for violations of the First and
         Fourteenth Amendments for denying him communal worship while he was
         housed in the “P”, “L”, “N”, and “E” Housing Units even though Christians
         were permitted communal worship;
                 6. Chaplin Babb, Chaplin Leslie, and Chris Johnson in their individual
         capacities for nominal and punitive damages for violations of RLUIPA (42
         U.S.C. § 2000cc-1) for denying him communal worship while he was housed
         in the “P”, “L”, “N”, and “E” Housing Units even though Christians were
         permitted communal worship;
                 7. Chaplin Babb, Chaplin Leslie, and Chris Johnson in their individual
         capacities for monetary and punitive damages for violations of the First and
         Fourteenth Amendments for denying him the ability to participate in
         Ramadan activities;
                 8. Chaplin Babb, Chaplin Leslie, and Chris Johnson in their individual
         capacities for nominal and punitive damages for violations of RLUIPA (42
         U.S.C. § 2000cc-1) for denying him the ability to participate in Ramadan
         activities;



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                9. Chaplin Babb and Chaplin Leslie in their individual capacities for
         monetary and punitive damages for violations of the First and Fourteenth
         Amendments for classifying him as a Christian for the purpose of preventing
         him from practicing his religion;
                10. Chaplin Babb and Chaplin Leslie in their individual capacities for
         nominal and punitive damages for violations RLUIPA (42 U.S.C. § 2000cc-1)
         for classifying him as a Christian for the purpose of preventing him from
         practicing his religion; and
                11. Salley Stevenson and Chris Johnson in their individual capacities
         for declaratory relief and nominal damages for violations RLUIPA (42 U.S.C.
         § 2000cc-1) for preventing him from practicing his religion by enforcing a
         policy which prohibits him from using his religious name on his mail.

  See docket # 27 at 10-13.

                 1. Denial of Prayer Oil in violation of the First Amendment

         Salley Stevenson contends that Mr. Shidler cannot present any evidence indicating

  that she knew that prayer oil was required for the practice of Islam. She states that she

  “issued a memorandum on June 12, 2003, prohibiting offenders from possessing oils”

  because of security issues and limited resources, but only after determining that prayer oil

  was not required by any religion. Stevenson Declaration at ¶¶ 4-12, docket # 91-7 at 1-2.

  See also Stevenson Memo of June 12, 2003, docket # 53-6 at 15.

                8. Because of the security issues arising when many inmates possess
         substantial quantities of oil, the chaplains were required to distribute it to
         offenders in small quantities.
                9. That restriction on distribution used a great deal of scarce human
         resources, and I investigated whether any religion required its followers to
         possess prayer oil.
                10. I turned for guidance to the “Handbook of Religious Beliefs and
         Practices” issued by the Indiana Department of Correction, and understood
         that book to say that the use of oils was recommended but not required.
                11. Based on that understanding, and keeping in mind the resources
         used by the method of distribution, I decided to prohibit offenders from
         possessing oils.


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  Stevenson Declaration at ¶¶ 8-11, docket # 91-7 at 2.

        Mr. Shidler responds by pointing to two cases and an Indiana Department of

  Correction administrative procedure in an attempt to demonstrate that Salley Stevenson

  knew that prayer oil is fundamental to Islam.

        [T]he Plaintiff would like to point out that this Honorable Court had
        instructed Defendant Stevenson in Burks-Bey v. Stevenson, 328 F. Supp. 2d
        928 ([N.D. Ind.] 2004) as well as in Baltoski v. Pretorius, 291 F. Supp. 2d 807
        (N.D. Ind. 2003) that prayer oils are fundamental to Islam. In both cases
        Defendant Stevenson was found to have violated the Plaintiff’s rights by
        denying prayer oils, yet she still decided in 2004 that they were not
        fundamental to Islam, completely disregarding this court’s previous opinion.

  Shidler Response Memorandum at 24-25, docket # 105-2.

        Ms. Stevenson was a defendant in those two cases, but Mr. Shidler misunderstands

  this court’s rulings in those cases. Mr. Burks-Bey was not a Muslim, he was a member of

  the Moorish Science Temple of America (MSTA). In Burks-Bey, the court didn’t make a

  determination about the fundamental practices of Islam, rather it merely contrasted what

  might be the fundamental practices of other religions to that of MSTA.

        Even if prayer oils are fundamental to Islam, even if kippot are fundamental
        to Judaism, even if holy water is fundamental to Catholicism, none of these
        items are fundamental to MSTA.

  Burks-Bey v. Stevenson, 328 F. Supp. 2d 928, 934 (N.D. Ind. 2004) (emphasis added). The

  court carefully selected the words “even if” because it wasn’t making a determination

  about Islam, Judaism, or Catholicism; it was merely contrasting them to MSTA.




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         Mr. Baltoski was Muslim, but in Baltoski, the court did not hold that prayer oil was

  fundamental to Islam. The opinion cited by Mr. Shidler merely permitted Mr. Baltoski the

  opportunity to try to prove it.

         Giving Mr. Baltoski the benefit of the inferences to which he is entitled at the
         pleadings stage, the court cannot say that the confiscation of Mr. Baltoski’s
         musk oil was reasonably related to a legitimate penological interest and did
         not infringe upon the First Amendment’s free exercise clause.

  Baltoski v. Pretorius, 291 F. Supp. 2d 807, 810 (N.D. Ind. 2003). Neither did the court

  ultimately conclude that prayer oil was fundamental in the ensuing litigation. Instead, that

  case was dismissed without prejudice because Mr. Baltoski abandoned it and did not

  continue to prosecute his claim when he did not keep the court apprised of his mailing

  address.

         Indiana Department of Correction administrative procedure 01-03-101 requires that,

                When a Facility Head/designee considers that an authorized religious
         practice, item or symbol should be restricted based upon facility mission,
         identifiable security and/or management concerns, the Facility
         Head/designee shall notify the Director of the request for an exemption.

  Docket # 53-6 at 19. Mr. Shidler argues that Ms. Stevenson did not request an exemption

  before she banned prayer oil. This appears to be true, but in the context of a First

  Amendment analysis, it is irrelevant. The Constitution does not require central office

  approval of the decisions of a facility head or designee, and nothing in this administrative

  procedure instructed her that prayer oil was required for the practice of Islam. Therefore

  summary judgment will be granted in favor of the defendant and against the plaintiff as

  to the denial of prayer oil based upon a violation of the First Amendment.


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              1-1. Denial of Prayer Oil in violation of the Fourteenth Amendment1

          Without evidence that Ms. Stevenson knew that prayer oil was required for the

  practice of Islam, Mr. Shidler cannot demonstrate that she knew that she was treating his

  religious exercise differently than that of anyone else. Therefore, summary judgment will

  be granted in favor of Sally Stevenson, and against Mr. Shidler on this claim.



                          2. Denial of Prayer Oil in Violation of RLUIPA

          As with the First Amendment denial of prayer oil claim, Ms. Stevenson contends

  that Mr. Shidler is unable to present any evidence indicating that she knew that prayer oil

  was required for the practice of Islam. Though this argument prevailed as to the alleged

  First Amendment violation, RLUIPA is different.

                 No government shall impose a substantial burden on the religious
          exercise of a person residing in or confined to an institution . . . even if the
          burden results from a rule of general applicability, unless the government
          demonstrates that imposition of the burden on that person –
                        (1) is in furtherance of a compelling governmental
                 interest; and
                        (2) is the least restrictive means of furthering that
                 compelling governmental interest.

  42 U.S.C. § 2000cc-1(a). RLUIPA defines religious exercise to “include any exercise of

  religion, whether or not compelled by, or central to, a system of religious belief.” 42 U.S.C.

  § 2000cc-5(7). Therefore whether Islam requires prayer oil is not relevant to a RLUIPA



          1
            Section numbers correspond to the paragraph numbers in the screening order quoted above. In the
  screening order, the First and Fourteenth Amendment claims were included in the same paragraphs, but here
  they are separately designated as paragraphs 1 and 1-1, 3 and 3-1, 5 and 5-1, 7 and 7-1, and 9 and 9-1.

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  analysis. Ms. Stevenson states that she knew that prayer oil is recommended for use by

  Muslims. For RLUIPA, that is enough to qualify prayer oil as a religious exercise.

         Ms. Stevenson also contends that the statute of limitations bars this claim because

  she banned prayer oil with a memo she issued on June 12, 2003. She argues that because

  this claim wasn’t raised until the amended complaint was filed on March 24, 2006, it is

  beyond the two year statute of limitations. In her answer, Ms. Stevenson raised five

  affirmative defenses, but she didn’t assert a statute of limitation defense. Docket # 37 at 11-

  12. Even if she had, she could not have prevailed on it. Though the memo was issued more

  than two years before the filing of the amended complaint, Ms. Stevenson does not dispute

  that she continued to prohibit the use of prayer oil after that date. Indeed, that was the

  memo’s very purpose. The memo is evidence of her decision, but it is not the act that forms

  the basis for this claim. Rather it is her ongoing act of prohibiting prayer oil that is the basis

  for this claim. That is to say, even if that memo had never been issued (or if it had been

  issued by her predecessor decades earlier), if she acted to prohibit prayer oil within the

  statute of limitation, then she would have no such defense available to her.

         Ms. Stevenson may be able to demonstrate at trial that banning oil was the least

  restrictive means of furthering a compelling governmental interest, but she has not

  presented that claim here. Indeed, in light of the subsequently changed policy permitting

  oil, it is unclear at this time how she might do so. Nevertheless, it is her motion for

  summary judgment that is now before the court and as to this claim it must be denied.




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           Mr. Shidler’s motion for summary judgment contends that that the denial of prayer

  oil violated RLUIPA and his summary judgment presents this claim as a basis for summary

  judgment (docket # 53-2 at 14), but he cannot prevail on his motion because his Amended

  Statement of Undisputed Facts is substantively deficient.2 It doesn’t state that the

  prohibition of prayer oil created a substantial burden on the exercise of his religion.

  Therefore his motion for summary judgment as to this claim must be denied.



               3. Denial of Non-Allergic Prayer Oil in violation of the First Amendment

           At some point, the policy was changed and prayer oil was available for purchase

  from the commissary. Mr. Shidler alleges that he was allergic to that prayer oil and could

  not obtain an alternative to which he was not allergic. Ms. Stevenson contends that Mr.

  Shidler is unable to present any evidence indicating that she knew that he was allergic to

  the prayer oil that was available. In response, Mr. Shidler argues that Ms. Stevenson

  admitted in her answer that she prevented him from purchasing an alternative prayer oil.

  He cites to page 2, paragraph 5 of the answer which states,

                   As to ¶ 5 of the amended complaint, the defendants ADMIT the
           allegations of the second sentence as to the circumstances known by the
           defendants, but they DENY those allegations as to all circumstances that did,
           or could, exist; and they are without sufficient information to form a belief
           as to the truth of the remaining allegations of that paragraph and therefore
           DENY them.



           2
             Though the defendants contend that the Statement of Undisputed Facts (docket # 53-4) is procedurally
  deficient “because it is in improper form and is incorrect” because it does not contain citations “to the materials upon
  which the statement is based” (Defendants Response at 1and 2, docket # 92), the Amended Statement of Undisputed
  Facts cured those procedural deficiencies (docket # 94).

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 Answer at ¶ 5, docket # 37. Paragraphs 4 and 5 of the amended complaint states,

             4) The facility did begin to sell a type of Islamic oil on its commissary,
       however the plaintiff is highly allergic to this type of oil and has not been
       allowed the option to purchase an alternative at his expense.

              5) The plaintiff has spoken with the facility superintendent, John
       VanNatta, and he state he seen no reasons the plaintiff can not order oil
       through the chapel. However when the plaintiff attempts to do so he is
       instructed by Chaplin Babb per Salley Stevenson no one is allowed to order
       oil.

 Amended Complaint at ¶ 5, docket # 22.

       Ms. Stevenson admitted that she prohibited the purchase of alternative prayer oil,

 but she hasn’t admitted that she knew that Mr. Shidler was allergic to the available prayer

 oil. Without evidence showing that Ms. Stevenson knew that he was allergic to the

 available prayer oil, Mr. Shidler cannot demonstrate that she knew that she was abridging

 his practice of religion. Summary judgment will be granted in favor of Ms. Stevenson and

 against Mr. Shidler on this claim.



    3-1. Denial of Non-Allergic Prayer Oil in violation of the Fourteenth Amendment

       Without evidence showing that Ms. Stevenson knew of his allergy, Mr. Shidler

 cannot demonstrate that she knew that she was treating his religious exercise differently

 than that of anyone else. Therefore, summary judgment will be granted in favor of Ms.

 Stevenson and against Mr. Shidler on this claim.




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                4. Denial of Non-Allergic Prayer Oil in violation of RLUIPA

        Without evidence showing that Ms. Stevenson knew of his allergy, Mr. Shidler

 cannot demonstrate that she was abridging his practice of religion. Therefore, summary

 judgment will be granted in favor of Ms. Stevenson and against Mr. Shidler on this claim.



           5. Denial of Communal Worship in violation of the First Amendment

                                             A.

        Chaplin Babb, Chaplin Leslie, and Chris Johnson allege that Mr. Shidler cannot

 present any evidence indicating that they violated the First Amendment by preventing him

 from engaging in communal worship while he was housed in the “P” Housing Unit from

 April 25, 2004 to June 21, 2004. They state that during those dates, the “P” Housing Unit,

 for security reasons, was a forced idle dorm that prohibited all offenders from many

 communal activities, including worship. They state that they didn’t make this decision and

 that they didn’thave the ability to provide communal worship.

              3. I did not prevent Mr. Shidler from practicing Islam outside his cell
        in P Housing Unit.
              4. The restriction on offenders’ ability to engage in religious exercises
        outside their cells in that unit during part of 2004 was imposed as a security
        measure by custody staff and the administration of the facility, not by
        chaplains.

 Babb Declaration at 1, docket # 91-3. See also Leslie Declaration at ¶ 3, docket # 91-6.

               5. My area of responsibility when I worked at MCF did not include
        decisions regarding whether to permit communal worship for offenders in
        P Housing Unit or any other housing unit at MCF.



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 Johnson Declaration at 1, docket # 91-5.

        Mr. Shidler responds that in a memo dated February 3, 2003 from Assistant

 Superintendent Sally Stevenson to Offender Ali A. Hakim, she stated that “Religious

 services for offenders assigned to the Forced Idle Unit will be held within the housing

 unit.” Though his memo addresses events in early 2003, it is too old to create a genuine

 issue of fact as to policy in the “P” Housing Unit more than a year later.

        Mr. Shidler notes that Chaplain Babb and Chaplain Leslie state in their interrogatory

 answers that “when he was placed in P-Housing Unit, it was necessary to place him on a

 different count letter.” Babb Interrogatory Answers at ¶ 4, docket # 105-4 at 17 and # 78 at

 2; Leslie Interrogatory Answers at ¶ 10, docket # 105-4 at 31 and #79 at 3. This is evidence

 that count letters were created for the “P” Housing Unit, but it is not evidence that these

 defendants, rather than someone else, prohibited communal worship in that housing unit.

 Indeed, by creating count letters for the “P” Housing Unit, it appears that these defendants

 acted to facilitate communal worship to the extent that they were able even though they

 knew that it was prohibited at the time. Nevertheless, without evidence that these

 defendants prevented him from engaging in communal worship, summary judgment must

 be granted for the defendants and against Mr. Shidler as to this part of this claim.

                                             B.

        Chaplin Babb, Chaplin Leslie, and Chris Johnson argue that Mr. Shidler cannot

 present any evidence indicating that they violated the First Amendment by preventing him

 from engaging in communal worship while he was housed in the “P” Housing Unit from


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 July 21, 2004 to August 6, 2004. They say that during those dates, the “P” Housing Unit had

 been reclassified to permit communal worship by inmates housed there. Therefore they did

 not know that Mr. Shidler was unable to engage in communal worship.

               6. In July of 2004, MCF staff made arrangements for offenders housed
        in P Housing Unit to engage in corporate religious services in the Phase II
        Offender Services Building, and it was my understanding that Muslims in P
        Housing Unit were therefore able to participate in those services from that
        time forward.
               ...
               8. If Mr. Shidler was not able to participate in corporate worship
        during this time in P Housing Unit from July 21, 2004, to August 6, 2004, I
        was not aware of it.

 Babb Declaration at 2, docket # 91-3. See also Leslie Declaration at ¶¶ 5 and 6, docket # 91-6.

               6. In August 2004, I received grievance MCF 2004-5-384, in which
        Garry Shidler said he was being denied religious services in P Housing Unit.
               7. I investigated that issue and learned that religious services had been
        suspended for offenders in that unit but in August 2004 were being made
        available to those offenders once more, and I informed Mr. Shidler of that
        fact on August 20, 2004.
               8. Further, I believe that Mr. Shidler was no longer assigned to P
        Housing Unit by the time I reviewed his grievance so that there was nothing
        I could do to remedy his complaint.

 Johnson Declaration at 2, docket # 91-5.

        Mr. Shidler responds that Chaplain Babb and Chaplain Leslie state in their

 interrogatory answers that,

        when he was placed in P-Housing Unit, it was necessary to place him on a
        different count letter. But when the OIS was checked, it listed him as General
        Christian, which made him ineligible to be placed on the Islamic count letter
        for P-Housing Unit.




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 Babb Interrogatory Answers at ¶ 4, docket # 105-4 at 17 and # 78 at 2; Leslie Interrogatory

 Answers at ¶ 10, docket # 105-4 at 31 and #79 at 3.

        Based on the declarations and interrogatory answers of the chaplains, it appears that

 they believed that communal worship was possible in the “P” Housing Unit during this

 time, but they didn’t believe that Mr. Shidler was a Muslim. This doesn’t demonstrate that

 they knew that they were preventing him from engaging in communal worship with fellow

 believers; it merely demonstrates that they knew that they were preventing him from

 engaging in communal worship with a different faith group. That presents no violation of

 the First Amendment. Mr. Shidler raises issues about how and why he was classified as a

 General Christian and those claims are addressed later in this opinion. As to this claim, he

 has not presented evidence that any of these defendants prevented him from engaging in

 communal worship with the religious community of which they believed him to be a

 member. Therefore summary judgment must be granted in favor of the defendants and

 against the plaintiff, as to this part of this claim.

                                                C.

        Chaplin Babb, Chaplin Leslie, and Chris Johnson allege that Mr. Shidler cannot

 present any evidence indicating that they violated the First Amendment by preventing him

 from engaging in communal worship while he was housed in the “L” Housing Unit from

 August 6, 2004 to September 6, 2004; in the “N” Housing Unit from September 6, 2004 to

 November 3, 2004; or in the “E” Housing Unit from November 3, 2004 to about December

 9, 2004. They state that during those dates, Indiana Department of Correction records


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 indicated that Mr. Shidler was a Christian and therefore he was not permitted to attend

 Muslim communal worship.

                24. When Mr. Shidler did meet with me [on December 9, 2004] and
         sign the “Statement of Offender’s Religious Preference” form, I immediately
         signed it and precessed it, and Mr. Shidler was promptly placed on the
         Muslim count letter.

 Babb Declaration at 3-4, docket # 91-3. See also Leslie Declaration at ¶ 10 and 13, docket #

 91-6.

                10. In late January 2005, I received grievance MCF 2004-12-7, in which
         Garry Shidler complained about delay in getting his name on the Islamic
         count letter.
                ...
                12. It was my understanding that Mr. Shidler had met with the
         chaplain in December 2004, had followed the proper procedure, and had
         been placed on the Islamic count letter, so that there was no further action
         needed.

 Johnson Declaration at 2, docket # 91-5.

         In addition to the prior responses raised by Mr. Shidler, he also responds that he

 wasn’t permitted to change his religion in accordance with Indiana Department of

 Correction policy. Refusing to change his religion is not a part of any of the many claims

 on which he is proceeding in this case. Furthermore, a federal claim must be premised on

 the violation of a federal right, not a prison policy. See Alvarado v. Litscher, 267 F.3d 648,

 651 (7th Cir. 2001). As to this claim, he has not presented any evidence that any of these

 defendants prevented him from engaging in communal worship with the religious

 community of which they believed him to be a member. Summary judgment must be

 granted in favor of the defendants and against the plaintiff as to this part of this claim.


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      5-1. Denial of Communal Worship in violation of the Fourteenth Amendment

        Chaplin Babb, Chaplin Leslie, and Chris Johnson allege that Mr. Shidler cannot

 present any evidence indicating that they permitted Christians to engage in communal

 worship while preventing Muslims from doing so during 2004.

               5. If Christians, or members of any other religious group, were treated
        differently in P Housing Unit in 2004 than the followers of any other religion,
        including Muslims, I was not aware of it.

 Babb Declaration at 2, docket # 91-3. See also Leslie Declaration at ¶ 4, docket # 91-6; and

 Johnson Declaration at ¶¶ 5 and 9, docket # 91-5.

        Mr. Shidler argues that the defendants would have to know that Christians were

 treated differently because a chaplain must supervise all communal worship. Because Mr.

 Shidler’s argument doesn’t cite to any evidence demonstrating either that there was

 disparate treatment or that any of these defendants had knowledge of it, this argument is

 merely circular reasoning. That is to say, he assumes that different treatment occurred and

 then argues that the defendants must have known about it because they were present and

 therefore must have seen it when it happened. The flaw with this logic is that there is no

 evidence of different treatment and no proof that they saw anything. Summary judgment

 must be granted in favor of the defendants and against the plaintiff as to this claim.




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                 6. Denial of Communal Worship in violation of RLUIPA

                                              A.

        As with the First Amendment denial of communal worship claim, Chaplin Babb,

 Chaplin Leslie, and Chris Johnson allege that Mr. Shidler cannot present any evidence

 indicating that they violated RLUIPA by preventing him from engaging in communal

 worship while he was housed in the “P” Housing Unit from April 25, 2004 to June 21, 2004.

 The analysis for this part of this claim is the same as the claim based on a violation of the

 First Amendment, as explained in section 5.A. supra. Without evidence that these

 defendants prevented him from engaging in communal worship, summary judgment must

 be granted for the defendants and against Mr. Shidler as to this part of this claim.

                                              B.

        As with the First Amendment denial of communal worship claim, Chaplin Babb,

 Chaplin Leslie, and Chris Johnson allege that Mr. Shidler cannot present any evidence

 indicating that they violated RLUIPA by preventing him from engaging in communal

 worship while he was housed in the “P” Housing Unit from July 21, 2004 to August 6, 2004.

 Mr. Shidler responds that Chaplain Babb and Chaplain Leslie state in their interrogatory

 answers that,

        when he was placed in P-Housing Unit, it was necessary to place him on a
        different count letter. But when the OIS was checked, it listed him as General
        Christian, which made him ineligible to be placed on the Islamic count letter
        for P-Housing Unit.




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 Babb Interrogatory Answers at ¶ 4, docket # 105-4 at 17 and # 78 at 2; Leslie Interrogatory

 Answers at ¶ 10, docket # 105-4 at 31 and #79 at 3.

       These interrogatory answers are evidence that Chaplain Babb and Chaplain Leslie

 knew Mr. Shidler wanted to attend Muslim Communal worship services at a time when

 their declarations state that such services were available to inmates in the “P” Housing

 Unit. “The chaplain’s office places offenders on count letters.” Babb Declaration at ¶ 15,

 docket # 91-3 at 3. Thus, there is evidence that Chaplain Babb and Chaplain Leslie could

 have placed Mr. Shidler on the count letter, and that – but for their decision not to – he

 would have been able to have attended Muslim communal worship.

       Though preventing an inmate from engaging in communal worship with a different

 faith group doesn’t violate the First Amendment, RLUIPA is different. RLUIPA defines

 religious exercise to “include any exercise of religion, whether or not compelled by, or

 central to, a system of religious belief.” 42 U.S.C. § 2000cc-5(7). Whether Mr. Shider was

 Muslim, then, is not relevant to a RLUIPA analysis. RLUIPA permits an inmate, even a

 General Christian, to incorporate attendance at Islamic communal worship into his

 religious practice. Though Chaplain Babb and Chaplain Leslie might be able to

 demonstrate at trial that preventing members of one religion from attending the communal

 worship of other religious groups is the least restrictive means of furthering a compelling

 governmental interest, they have neither presented nor proven that argument here.




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          The evidence presented defeats the defendants’ summary judgment motion as to

 this part of this claim in regard to Chaplain Babb and Chaplain Leslie, but not as to Chris

 Johnson.

                 5. My area of responsibility when I worked at MCF did not include
          decisions regarding whether to permit communal worship for offenders in
          P Housing Unit or any other housing unit at MCF.

 Johnson Declaration at 1, docket # 91-5. Mr. Shidler has presented no evidence that Chris

 Johnson had the ability to place him on the count letter, so there is no evidence that Chris

 Johnson prevented Mr. Shidler from attending Muslim communal worship. Summary

 judgment will be granted for Chris Johnson and against Mr. Shidler on this part of this

 claim.

          Mr. Shidler also seeks summary judgment on this part of this claim (docket # 53-2

 at 10-11), but he can’t prevail on his motion because his Amended Statement of Undisputed

 Facts is substantively deficient because it does not state that denying him attendance at

 Muslim communal worship created a substantial burden on the exercise of his religion. His

 summary judgment motion as to this claim must be denied.



                                              C.

          As with the First Amendment denial of communal worship claim, Chaplin Babb,

 Chaplin Leslie, and Chris Johnson contend that Mr. Shidler cannot present any evidence

 indicating that they violated RLUIPA by preventing him from engaging in communal

 worship while he was housed in the “L” Housing Unit from August 6, 2004 to September


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 6, 2004; in the “N” Housing Unit from September 6, 2004 to November 3, 2004, or in the “E”

 Housing Unit from November 3, 2004 to about December 9, 2004. They state that during

 those dates, Indiana Department of Correction records indicated that Mr. Shidler was a

 Christian and so was not permitted to attend Muslim communal worship.

        The analysis of events on these dates and in these housing units is the same as it was

 for the RLUIPA claim arising in “P” Housing Unit from April 25, 2004 to June 21, 2004, as

 explained in section 6.B., supra. RLUIPA permits an inmate, even a General Christian, to

 incorporate into his religious practice, attendance at Islamic communal worship. As before,

 though Chaplain Babb and Chaplain Leslie might be able to demonstrate at trial that

 preventing members of one religion from attending the communal worship of other

 religious groups is the least restrictive means of furthering a compelling governmental

 interest, they have not presented that argument, nor proven it, here.

        Thus the defendants’ summary judgment motion must be denied as to this part of

 this claim in regard to Chaplain Babb and Chaplain Leslie, but not as to Chris Johnson. So

 too, Mr. Shidler’s motion for summary judgment on this part of this claim must be denied

 because his Statement of Undisputed Facts does not state that denying him attendance at

 Muslim communal worship created a substantial burden on the exercise of his religion.




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           7. Denial of Ramadan Activities in Violation of the First Amendment

       7-1. Denial of Ramadan activities in violation of the Fourteenth Amendment

                   8. Denial of Ramadan activities in violation of RLUIPA

        Chaplin Babb, Chaplin Leslie, and Chris Johnson allege that Mr. Shidler didn’t file

 a grievance alleging that he was denied the opportunity to participate in Ramadan

 activities. “No action shall be brought with respect to prison conditions . . . by a prisoner

 confined in any jail, prison, or other correctional facility until such administrative remedies

 as are available are exhausted.” 42 U.S.C. § 1997e(a). This statute requires that Mr. Shidler

 utilize whatever administrative grievance system was available to him before he can file

 a lawsuit in federal court. In support of this affirmative defense, the defendants have

 submitted the declaration of Amy Clark.

                I have found one grievance filed by Mr. Shidler that mentions that he
        was not permitted to participate in Ramadan during 2004, but Mr. Shidler
        did not complain about that in that grievance, MCF 2004-12-7, he stated that
        he had accepted being told he would not be added to the Muslim count letter
        until after Ramadan but did not accept being kept off the count letter when
        he applied on the last day of Ramadan.

 Clark Declaration at ¶ 28, docket # 91-4 at 5.

        In response, Mr. Shidler argues that, “The plaintiff continuously grieved the denial

 of Islamic services one of which is Ramadan.” While is it true that Ramadan is an Islamic

 religious holiday, Mr. Shidler hasn’t identified any grievance in which he sought to

 participate in the celebration of it. Because he did not exhaust the administrative grievance




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 process as to these claims, the defendants’ motion for summary judgment as to all claims

 related to Ramadan must be granted.



            9. Classification as a Christian in violation of the First Amendment

        9-1. Classification as a Christian in violation of the Fourteenth Amendment

                  10. Classification as a Christian in violation of RLUIPA

        Chaplain Babb and Chaplain Leslie contend that Mr. Shidler cannot present any

 evidence that they classified him as a Christian. “I did not list Mr. Shidler on the OIS as

 preferring Christianity, nor did I cause him to be so listed.” Babb Declaration at ¶ 19,

 docket # 91-3 at 3; and Leslie Declaration at ¶ 9, docket # 91-6 at 2.

        Mr. Shidler responds that the records could have been altered, but he hasn’t

 presented any evidence that they were. More particularly, he has presented no evidence

 that Chaplains Babb or Leslie classified him as a Christian. Without any evidence that they

 did so, he cannot proceed on these claims. Therefore the defendants’ summary judgment

 motions will be granted as to these claims.



               11. Denial of Religious Name on Mail in violation of RLUIPA

        Salley Stevenson and Chris Johnson contend that Mr. Shidler didn’t file a grievance

 related to using his religious name on mail. In support of this affirmative defense, the

 defendants have submitted the declaration of Amy Clark: “I have found no grievance filed

 by Mr. Shidler between April 29, 2005, and November 30, 2005, claiming that he was being


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 denied the right to exercise his religion because his DOC records were kept under an

 improper name.” Clark Declaration at ¶ 25, docket # 91-4 at 4.

        Mr. Shidler presents no response to this argument. Because he has presented no

 evidence that he grieved this issue, the defendants motion for summary judgment as to

 these claims will be granted.



                                      CONCLUSION

        For the foregoing reasons, the court:

        (1) DENIES IN PART the defendants’ motion for summary judgment (docket # 90)

 and allows Mr. Shidler to proceed against:

                Salley Stevenson in her individual capacity for declaratory relief as
        well as nominal and punitive damages for a violation of RLUIPA (42 U.S.C.
        § 2000cc-1) for denying him prayer oil when she prohibited all oil at the
        prison, but not for denying him the ability to purchase non-allergenic prayer
        oil after oils were again permitted; and

               Chaplin Babb and Chaplin Leslie in their individual capacities for
        nominal and punitive damages for violations of RLUIPA (42 U.S.C. § 2000cc-
        1) for denying him communal worship while he was housed in the “P”
        Housing Unit from July 21, 2004 to August 6, 2004; in the “L” Housing Unit
        from August 6, 2004 to September 6, 2004; in the “N” Housing Unit from
        September 6, 2004 to November 3, 2004; and in the “E” Housing Unit from
        November 3, 2004 to about December 9, 2004;

        (2) GRANTS IN PART the defendants’ motion for summary judgment (docket # 90)

 as to all other claims;

        (3) DISMISSES Chris Johnson ; and

        (4) DENIES the plaintiff’s motion for summary judgment (docket # 53).


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       SO ORDERED.

       Dated this 4 Day of February, 2008.

                                                 /s/ Robert L. Miller, Jr.
                                              Chief Judge
                                              United States District Court




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